Case 2:11-cv-10403-RHC-PJK ECF No. 14, PageID.199 Filed 02/08/11 Page 1 of 9




                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF MICHIGAN



SECURITIES AND EXCHANGE COMMISSION,

                                    Plaintiff,
                                                           2:11-cv-10403 (RHC-PJK)
                          v.

GREGG M.S. BERGER, ET AL.

                                    Defendants.



                FINAL JUDGMENT AS TO DEFENDANTS M-WISE, INC.,
                   SHAY BEN-ASULIN, AND MORDECHAI BROUDO

       The Securities and Exchange Commission having filed a Complaint and Defendants m-

Wise, Inc., Shay Ben-Asulin, and Mordechai Broudo (collectively, the “Defendants”) each

having entered a general appearance; consented to the Court’s jurisdiction over them and the

subject matter of this action; consented to entry of this Final Judgment without admitting or

denying the allegations of the Complaint (except as to jurisdiction); waived findings of fact and

conclusions of law; and waived any right to appeal from this Final Judgment:


                                                 I.

       IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that Defendants and

Defendants’ agents, servants, employees, attorneys, and all persons in active concert or

participation with them who receive actual notice of this Final Judgment by personal service or

otherwise are permanently restrained and enjoined from violating, directly or indirectly, Section

10(b) of the Securities Exchange Act of 1934 (the "Exchange Act") [15 U.S.C. § 78j(b)] and

Rule 10b-5 promulgated thereunder [17 C.F.R. § 240.10b-5], by using any means or
Case 2:11-cv-10403-RHC-PJK ECF No. 14, PageID.200 Filed 02/08/11 Page 2 of 9




instrumentality of interstate commerce, or of the mails, or of any facility of any national

securities exchange, in connection with the purchase or sale of any security:

        (a)     to employ any device, scheme, or artifice to defraud;

        (b)     to make any untrue statement of a material fact or to omit to state a material fact

                necessary in order to make the statements made, in the light of the circumstances

                under which they were made, not misleading; or

        (c)     to engage in any act, practice, or course of business which operates or would

                operate as a fraud or deceit upon any person.

                                                 II.

        IT IS HEREBY FURTHER ORDERED, ADJUDGED, AND DECREED that Defendants

and Defendants’ agents, servants, employees, attorneys, and all persons in active concert or

participation with them who receive actual notice of this Final Judgment by personal service or

otherwise are permanently restrained and enjoined from violating Section 17(a) of the Securities

Act of 1933 (the “Securities Act”) [15 U.S.C. § 77q(a)] in the offer or sale of any security by the

use of any means or instruments of transportation or communication in interstate commerce or by

use of the mails, directly or indirectly:

        (a)     to employ any device, scheme, or artifice to defraud;

        (b)     to obtain money or property by means of any untrue statement of a material fact

                or any omission of a material fact necessary in order to make the statements

                made, in light of the circumstances under which they were made, not misleading;

                or




                                                  2
Case 2:11-cv-10403-RHC-PJK ECF No. 14, PageID.201 Filed 02/08/11 Page 3 of 9




       (c)     to engage in any transaction, practice, or course of business which operates or

               would operate as a fraud or deceit upon the purchaser.

                                                 III.

       IT IS HEREBY FURTHER ORDERED, ADJUDGED, AND DECREED that Defendants

and Defendants’ agents, servants, employees, attorneys, and all persons in active concert or

participation with them who receive actual notice of this Final Judgment by personal service or

otherwise are permanently restrained and enjoined from violating Sections 5(a) and 5(c) of the

Securities Act [15 U.S.C. §§ 77e(a) and 77e(c)] by, directly or indirectly, in the absence of any

applicable exemption:

       (a)     Unless a registration statement is in effect as to a security, making use of any

               means or instruments of transportation or communication in interstate commerce

               or of the mails to sell such security through the use or medium of any prospectus

               or otherwise;

       (b)     Unless a registration statement is in effect as to a security, carrying or causing to

               be carried through the mails or in interstate commerce, by any means or

               instruments of transportation, any such security for the purpose of sale or for

               delivery after sale; or

       (c)     Making use of any means or instruments of transportation or communication in

               interstate commerce or of the mails to offer to sell or offer to buy through the use

               or medium of any prospectus or otherwise any security, unless a registration

               statement has been filed with the Commission as to such security, or while the

               registration statement is the subject of a refusal order or stop order or (prior to the


                                                  3
Case 2:11-cv-10403-RHC-PJK ECF No. 14, PageID.202 Filed 02/08/11 Page 4 of 9




               effective date of the registration statement) any public proceeding or examination

               under Section 8 of the Securities Act [15 U.S.C. § 77h].

                                                IV.

       IT IS HEREBY FURTHER ORDERED, ADJUDGED, AND DECREED that Defendant

m-Wise and its agents, servants, employees, attorneys, and all persons in active concert or

participation with them who receive actual notice of this Final Judgment by personal service or

otherwise are permanently restrained and enjoined from violating Section 13(a) of the Exchange

Act [15 U.S.C. § 78m(a)] and Rules 12b-20 and 13a-1 thereunder [17 C.F.R. §§ 240.12b-20 and

240.13a-1] by, directly or indirectly, in a report filed with the Commission making or causing to

be made a materially false or misleading statements; or omitting to state, or causing another

person to omit to state, any material fact necessary in order to make statements made, in light of

the circumstances under which such statements were made, not misleading.

                                                 V.

       IT IS HEREBY FURTHER ORDERED, ADJUDGED, AND DECREED that Defendant

Ben-Asulin and Defendant Broudo and their agents, servants, employees, attorneys, and all

persons in active concert or participation with them who receive actual notice of this Final

Judgment by personal service or otherwise are permanently restrained and enjoined from aiding

and abetting any violations of Section 13(a) of the Exchange Act [15 U.S.C. § 78m(a)] and Rules

12b-20, 13a-1, and 13a-11 thereunder [17 C.F.R. §§ 240.12b-20 and 240.13a-1] by knowingly

providing substantial assistance to an issuer which has a class of securities registered pursuant to

Section 12 of the Exchange Act [15 U.S.C. §78l], or that is required to file reports pursuant to

Section 15(d) of the Exchange Act [15 U.S.C. § 78o(d)], that files annual reports that are


                                                 4
Case 2:11-cv-10403-RHC-PJK ECF No. 14, PageID.203 Filed 02/08/11 Page 5 of 9




inaccurate or that fail to contain material information necessary to make required statements, in

light of the circumstances under which they are made, not misleading.

                                                VI.

       IT IS HEREBY FURTHER ORDERED, ADJUDGED, AND DECREED that Defendant

Ben-Asulin and Defendant Broudo and their agents, servants, employees, attorneys, and all

persons in active concert or participation with them who receive actual notice of this Final

Judgment by personal service or otherwise are permanently restrained and enjoined from

violating Exchange Act Rule 13a-14 [17 C.F.R. § 240.13a-14], directly or indirectly, by signing

personal certifications falsely stating that they have reviewed periodic reports containing

financial statements which an issuer filed with the Commission pursuant to Section 13(a) of the

Exchange Act [15 U.S.C. § 78m(a)] and that, based on their knowledge,

       (a)     these reports do not contain any untrue statement of material fact or omit to state a

               material fact necessary to make the statements made, in light of the circumstances

               under which such statements were made, not misleading with respect to the period

               covered by the report; and

       (b)     that information contained in these reports fairly present, in all material respects,

               the financial condition and results of the issuer’s operations.

                                                VII.

       IT IS HEREBY FURTHER ORDERED, ADJUDGED, AND DECREED that Defendant

Ben-Asulin and Defendant Broudo and their agents, servants, employees, attorneys, and all

persons in active concert or participation with them who receive actual notice of this Final

Judgment by personal service or otherwise are permanently restrained and enjoined from


                                                 5
Case 2:11-cv-10403-RHC-PJK ECF No. 14, PageID.204 Filed 02/08/11 Page 6 of 9




violating Section 16(a) of the Exchange Act [15 U.S.C. § 78p] and Rules 16a-2 and 16a-3 [17

C.F.R. §§ 240.16a-2 and 240.16a-3] thereunder by failing to file timely statements concerning

changes in ownership, purchases, and sales of securities as a direct or indirect beneficial owner of

more than 10 percent of any class of equity security which is registered pursuant to Section 12 of

the Exchange Act, or as a director or officer of the issuer of such security.

                                                VIII.

       IT IS HEREBY FURTHER ORDERED, ADJUDGED, AND DECREED that, pursuant

to Section 21(d)(2) of the Exchange Act [15 U.S.C. § 78u(d)(2)] and Section 20(e) of the

Securities Act [15 U.S.C. § 77t(e)], Defendant Ben-Asulin and Defendant Broudo are prohibited

from acting as an officer or director of any issuer that has a class of securities registered pursuant

to Section 12 of the Exchange Act [15 U.S.C. § 78l] or that is required to file reports pursuant to

Section 15(d) of the Exchange Act [15 U.S.C. § 78o(d)].

                                                 IX.

       IT IS HEREBY FURTHER ORDERED, ADJUDGED, AND DECREED that Defendant

Ben-Asulin and Defendant Broudo are permanently barred from participating in an offering of

penny stock, including engaging in activities with a broker, dealer, or issuer for purposes of

issuing, trading, or inducing or attempting to induce the purchase or sale of any penny stock. A

penny stock is any equity security that has a price of less than five dollars, except as provided in

Rule 3a51-1 under the Exchange Act [17 C.F.R. 240.3a51-1].

                                                  X.

       IT IS HEREBY FURTHER ORDERED, ADJUDGED, AND DECREED that Defendants

are held joint and severally liable for disgorgement of $400,000 representing profits gained as a


                                                  6
Case 2:11-cv-10403-RHC-PJK ECF No. 14, PageID.205 Filed 02/08/11 Page 7 of 9




result of the conduct alleged in the Complaint. Defendants shall satisfy this obligation by paying

$400,000 pursuant to the terms of the payment schedule set forth in paragraph XI after entry of

this Final Judgment to the Clerk of this Court, together with a cover letter identifying m-Wise,

Ben-Asulin and Broudo as defendants in this action; setting forth the title and civil action number

of this action and the name of this Court; and specifying that payment is made pursuant to this

Final Judgment. Defendant shall simultaneously transmit photocopies of such payment and letter

to Elaine C. Greenberg, Associate Regional Director, Philadelphia Regional Office, Securities

and Exchange Commission, 701 Market Street, Suite 2000, Philadelphia, PA 19106. By making

these payments, Defendants relinquish all legal and equitable right, title, and interest in such

funds, and no part of the funds shall be returned to Defendants. The Clerk shall deposit the funds

into an interest bearing account with the Court Registry Investment System ("CRIS") or any other

type of interest bearing account that is utilized by the Court. These funds, together with any

interest and income earned thereon (collectively, the “Fund”), shall be held in the interest bearing

account until further order of the Court. In accordance with 28 U.S.C. § 1914 and the guidelines

set by the Director of the Administrative Office of the United States Courts, the Clerk is directed,

without further order of this Court, to deduct from the income earned on the money in the Fund a

fee equal to ten percent of the income earned on the Fund. Such fee shall not exceed that

authorized by the Judicial Conference of the United States. The Commission may propose a plan

to distribute the Fund subject to the Court’s approval. Defendants shall pay post-judgment

interest on any delinquent amounts pursuant to 28 USC § 1961.




                                                  7
Case 2:11-cv-10403-RHC-PJK ECF No. 14, PageID.206 Filed 02/08/11 Page 8 of 9




                                                 XI.

       Defendants shall pay $400,000 in five installment payments according to the following

schedule: (1) $50,000 within 10 days of entry of this Final Judgment plus post-judgment interest

on any delinquent amounts pursuant to 28 U.S.C. § 1961; (2) $87,500 within 180 days of entry of

this Final Judgment plus post-judgment interest on any delinquent amounts pursuant to 28 U.S.C.

§ 1961; (3) $87,500 within 360 days of entry of this Final Judgment plus post-judgment interest

on any delinquent amounts pursuant to 28 U.S.C. § 1961; (4) $87,500 within 540 days of entry of

this Final Judgment plus post-judgment interest on any delinquent amounts pursuant to 28 U.S.C.

§ 1961; and (5) $87,500 within 720 days of entry of this Final Judgment plus post-judgment

interest on any delinquent amounts pursuant to 28 U.S.C. § 1961. If Defendants fail to make any

payment by the date agreed and/or in the amount agreed according to the schedule set forth

above, all outstanding payments under this Final Judgment, including post-judgment interest,

minus any payments made, shall become due and payable immediately without further

application to the Court.

                                                 XII.

       IT IS HEREBY FURTHER ORDERED, ADJUDGED, AND DECREED that this Court

shall retain jurisdiction of this matter for the purposes of enforcing the terms of this Final

Judgment.




                                                  8
Case 2:11-cv-10403-RHC-PJK ECF No. 14, PageID.207 Filed 02/08/11 Page 9 of 9




                                              XIII.

       There being no just reason for delay, pursuant to Rule 54(b) of the Federal Rules of Civil

Procedure, the Clerk is ordered to enter this Final Judgment forthwith and without further notice.



                                              S/Robert H. Cleland
                                             ROBERT H. CLELAND
                                             UNITED STATES DISTRICT JUDGE


Dated: February 8, 2011


I hereby certify that a copy of the foregoing document was mailed to counsel of record
on this date, February 8, 2011, by electronic and/or ordinary mail.


                                              S/Lisa Wagner
                                             Case Manager and Deputy Clerk
                                             (313) 234-5522




                                                9
